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THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JILLIAM GRATZ and TYLER GRATZ,_ :
: CIVIL ACTION NO. 3:19-CV-1341
Plaintiffs, : (JUDGE MARIANI)
: (Magistrate Judge Carlson)
V. ;
MICHAEL GRATZ,
Defendant.
ORDER
AND NOW, THIS 2 phy OF OCTOBER 2020, upon review of Magistrate Judge
Martin C. Carlson's Report and Recommendation (“"R&R) (Doc. 19) for clear error or
manifest injustice, IT IS HEREBY ORDERED THAT:
1. The R&R (Doc. 19) is ADOPTED for the reasons set forth therein;
2. Defendant's Motion to Dismiss Plaintiffs’ Amended Complaint (Doc. 9) is GRANTED;
3. Plaintiffs’ Amended Complaint (Doc. 7) is DISMISSED WITHOUT PREJUDICE;
4. Plaintiffs are granted leave to file an amended complaint within twenty-one (21)
days of the date of this Order;
5. Failure to timely file an amended complaint will result in dismissal of this action with
prejudice.
TL Yunnan

Robert D. Mariani
United States District Judge

 
